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  IN THE DISTRICT COURT OF THE UNITED STATES

               For the Western District of New York


                                                   May 2004 GRAND JURY
                                                   (Empaneled 5/7/04)
THE UNITED STATES OF AMERICA
                                                   06-CR-
     -vs-
                                                   INDICTMENT
KELLY A. BOSSINGER
                                                   Violation:
                                                Title 18, United States Code,
                                                Section 371, 1030(a)(2)(B),
                                                and 1001(a)(2).


                                 COUNT I
                        18 U.S.C. § 1030(a)(2)(B)

                         The Grand Jury Charges:

     1.     That at all times material to this Indictment, TECS was a

computerized law enforcement database of the Department of Homeland

Security.     The use of and access to this database is restricted to

authorized law enforcement and/or support personnel of the federal

government who have an official reason or purpose for accessing the

confidential law enforcement information contained therein.



     2.     At all times material to this Indictment, the defendant,

KELLY BOSSINGER, was a Customs & Border Protection Officer (CBPO) with

the Department of Homeland Security, Office of Customs & Border

Protection.    Defendant BOSSINGER was also a federal law enforcement
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officer within the meaning of Title 18, United States Code, Section

1114.    As such, defendant BOSSINGER was a person authorized to access

the TECS database for any official government purpose. Defendant

BOSSINGER was not, however, authorized to access the TECS database for

reasons unrelated to her official government duties, or for personal

reasons.



        3.   At all times material to this Indictment, Maryann Crooks, Amy

Miller and Robert Murphy were also Customs & Border Protection Officers

within the Department of Homeland Security. These individuals were also

persons authorized to access the TECS database for any official

government purpose. However, these officers were not authorized to

access this database for reasons unrelated to their official government

duties, or for personal reasons.



        4.   At all times material to this Indictment, Donald Mania was

a   Senior   Special   Agent      (SSA)   with   the   Office   of   Professional

Responsibility     (OPR)    of    the   Office   of    Immigration    and   Customs

Enforcement (ICE), an agency of the Department of Homeland Security.



        5.   At all times material to this Indictment, the TECS database

was able to receive and store information regarding foreign and

domestic registered vehicles that travel to and from the United States.

Information    pertaining    to    such   vehicles,     including    investigative


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lookouts and alerts, could be entered into the database using the

vehicle plate number. Any such information regarding a vehicle entry

into the TECS database could then be retrieved by authorized law

enforcement personnel or support staff by conducting a computer query

known as an SQ-13.



     6.   At all times material to this Indictment, the TECS database

was also capable of receiving, storing and retrieving information

regarding the number and frequency of international border crossings

made by a particular plate numbered vehicle.          Any such information

regarding the number and frequency of border crossings by such a

vehicle could then be retrieved by authorized law enforcement personnel

or support staff by conducting a computer query known as a Subject

Query Primary Query (SQPQ).



     7.   At all times material to this Indictment, the TECS database

was also capable of receiving, storing and retrieving information

related to whether an incident log had been created regarding a

particular a person or vehicle inspection occurring at an international

port-of-entry.    This information was contained in an Inspectional

Operations Incident Log (IOIL) and could be retrieved from TECS by

conducting an IOIL query.




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     8.    At   all    times    material    to    this   Indictment,    another

computerized law enforcement database known as the Customs Overtime

Scheduling System (COSS), which is maintained by the Department of

Homeland   Security,    was    also   capable    of   receiving,   storing   and

retrieving information regarding the date, shift and duty station

assignments of United States Customs and Border Protection personnel.

Any such information regarding personnel assignments could then be

retrieved from COSS by authorized CBP personnel.



     9.    On or about May 1, 2004, because the vehicle she was driving

was the subject of a TECS lookout, Robin Emke, a woman who was known

to the defendant, was stopped at the Peace Bridge Port-of-Entry and

subjected to an extensive border inspection.



     10.   On or about May 4, 2004, in the Western District of New York,

the defendant, KELLY BOSSINGER, intentionally accessed a computer in

a manner that exceeded her authorized access and thereby obtained

computerized information from the Department of Homeland Security, an

agency of the United States, in that she conducted an SQ-13 query of

the Treasury Enforcement Communications System (TECS), a computerized

federal law enforcement data base, concerning Utah Vehicle Plate No.

HMS335 for no official government reason.



      All in violation of Title 18, United States Code, Sections



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1030(a)(2)(B).



                                   COUNT II
                            18 U.S.C. § 1001(a)(2)

                     The Grand Jury Further Charges:

     1.    The allegations in paragraphs 1 - 9 of Count I of the

Indictment are repeated and re-alleged as if fully set forth here.



     2.    On June 4, 2004, in the Western District of New York, the

defendant, KELLY BOSSINGER, in a matter within the jurisdiction of the

United States Department of Homeland Security of the executive branch

of the United States government, knowingly and willfully made a

materially false statement to an agent of the Office of Professional

Responsibility (OPR) within Immigration and Custom Enforcement (ICE),

in that she falsely stated that she did not test the TECS system to

determine whether or how e-mail notification is sent to the owner of

a TECS record when such a record has been queried by another TECS user.



     All   in   violation   of   Title   18,   United   States   Code,   Section

1001(a)(2).




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                                COUNT III
                             18 U.S.C. § 371

                    The Grand Jury Further Charges:

     1.   The allegations in paragraphs 1 - 9 of Count I of the

Indictment are repeated and re-alleged as if fully set forth here.



     2.   Beginning on or about May 4, 2004, and continuing until on

or about June 4, 2004, the defendant, KELLY BOSSINGER, along with

Maryann Crooks, Amy Miller and Robert Murphy, knowingly combined,

conspired and agreed to commit an offense against the United States,

namely, making false statements to investigative authorities of the

United States Department of Homeland Security, in violation of Title

18, United States Code, Section 1001(a)(2).



                                OVERT ACTS

     In furtherance of the conspiracy and to effect the objects

thereof, the following overt acts were performed:



     1.   On May 4, 2004, the defendant, KELLY BOSSINGER, accessed the

TECS database in order to conduct an IOIL query in order to obtain

information concerning the bridge stop that her sister, Robin Emke, was

subjected to on May 1, 2004.



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     2.    On May 4, 2004, the defendant, KELLY BOSSINGER, accessed the

TECS database to conduct a COSS query in order to determine the

identity of ICE personnel assigned to the Peace Bridge Port-of-Entry

during the midnight shift on May 1, 2004.



     3.    On May 4, 2004, the defendant, KELLY BOSSINGER, provided

Customs Border Patrol Officer (CBPO) Maryann Crooks with the plate

number for New York State Vehicle Registration No. CLZ5612, knowing

that Crooks intended to conduct an SQPQ query of the TECS database in

order to determine the number and frequency of border crossings made

by Robin Emke.



     4.    On May 4, 2004, Maryann Crooks conducted an SQPQ query of the

TECS database in order to determine the number and frequency of border

crossings made by Robin Emke.



     5.    Shortly thereafter, on May 4, 2004, CBPO Maryann Crooks

accessed   the   TECS   database   in   order   to   conduct   an   SQ-13   query

concerning NYS Vehicle Registration No. CLZ5612 for the purpose of

learning the contents of a law enforcement investigative record that

had been entered on the subject vehicle plate.



     6.    On May 4, 2004, after accessing the TECS government database,

CBPO Maryann Crooks divulged confidential law enforcement information


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to the defendant, KELLY BOSSINGER, concerning the investigative record

entered on NYS Plate No. CLZ5612.

     7.    On May 4, 2004, CBPO Crooks and defendant KELLY BOSSINGER

agreed to test the TECS system to determine whether an automatic e-mail

notification would be sent to the originator, or “owner” of a TECS

record when his/her record has been accessed by another TECS user.



     8.    On   May   4,   2004,   CBPO       Crooks   provided   defendant   KELLY

BOSSINGER with Utah Plate No. 335HMS, a record owned by CBPO Crooks,

in order to determine whether BOSSINGER’s access of this TECS record

would result in an automatic e-mail notification being sent to Crooks.



     9.    On May 4, 2004, the defendant, KELLY BOSSINGER, accessed the

TECS database in order to conduct an SQ-13 query on Utah Plate No.

335HMS, after which time it was determined that an automatic e-mail

notification was sent to CBPO Crooks advising that BOSSINGER had

accessed her TECS record.



     10.   On May 4, 2004, the defendant, KELLY BOSSINGER, advised

Crooks to transpose the numbers on the subject NYS Plate No. CLZ5612

and then run additional SQ-13 queries in order to make her original

query appear to be random or accidental, thereby concealing Crooks’

unlawful and unauthorized access to the TECS database.




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       11.   On May 5, 2004, CBPO Crooks stated to SSA Mania that she

accidentally conducted the TECS query on NYS Plate No. CLZ5612 by

inadvertently transposing the numbers on a vehicle plate that she had

been    legitimately    working    on,   when   in   fact   she   knew     she   had

intentionally conducted the TECS query on NYS Plate No. CLZ5612 and had

not accidentally conducted the query.



       12.   On May 10, 2004, the defendant, KELLY BOSSINGER, falsely

stated to SSA Mania that she had not told CBPO Crooks to transpose the

numbers on NYS Plate No. CLZ5612 in order to make it appear that Crooks

had inadvertently accessed that plate number in the TECS database.



       13.   On May 4, 2004, the defendant, KELLY BOSSINGER, also provided

CBPO Amy Miller with the plate number for NYS Plate No. CLZ5612.



       14.   Thereafter, on May 4, 2004, CBPO Amy Miller telephoned CBPO

Robert Murphy at the Peace Bridge Port-of-Entry and requested that he

run an SQ-13 query on plate CLZ5612 in the TECS database for the

purpose of determining whether an investigative lookout had been issued

on the subject vehicle plate.



       15.   On May 4, 2004, CBPO Robert Murphy conducted the requested

SQ-13 query in the TECS database and thereby obtained confidential law

enforcement information.


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       16.   On May 4, 2004, after conducting the requested SQ-13 query,

CBPO     Robert   Murphy    divulged    the   confidential     law   enforcement

information contained in TECS to CBPO Amy Miller.



       17.    On May 4, 2004, CBPO Miller divulged the confidential law

enforcement information obtained from CBPO Murphy to defendant KELLY

BOSSINGER concerning NYS Plate No. CLZ5612.



       18.   On or about May 5, 2004, CBPO Amy Miller told CBPO Murphy to

falsely tell investigators from the Customs Office of Professional

Responsibility that Murphy had conducted the TECS query on NYS Plate

No. CLZ5612 out of curiosity because it had been listed on a sheet of

paper which Murphy found in the Inspection Office at the Peace Bridge.



       19.   On or about May 6, 2004, CBPO Murphy falsely stated to SSA

Mania that he conducted the TECS query on NYS Plate No. CLZ5612 because

he saw it listed on a sheet of paper that he found in the Inspection

Office.



       20.   On or about May 7, 2004, CBPO Amy Miller was interviewed by

Internal Affairs investigators, at which time she falsely denied having

advised CBPO Murphy to make the false statement about having randomly


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run the SQ-13 query in TECS because he had found NYS Plate No. CLZ5612

written on a piece of paper in the Inspection Office.

     21.   On or about June 4, 2004, defendant KELLY BOSSINGER was

interviewed by Office of Professional Responsibility investigators, at

which time she falsely denied having tested the TECS system with CBPO

Crooks to determine whether the owner of a TECS record receives

automatic e-mail notification when his/her record has been accessed by

another TECS user.



     All in violation of Title 18, United States Code, Section 371.



           DATED:    Buffalo, New York, February 7, 2006.


                                  KATHLEEN M. MEHLTRETTER
                                  Acting United States Attorney


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A TRUE BILL:


S/FOREPERSON
Foreperson


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